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 6                               UNITED STATES DISTRICT COURT
 7                              CENTRAL DISTRICT OF CALIFORNIA

 8                                               Case No. 2:21-cv-7197-GW-JPR
 9    JACEY PACHA,
                                                 [PROPOSED] ORDER OF
10                 Plaintiff,                    DISMISSAL WITH PREJUDICE
11
      vs.
12

13    EGS FINANCIAL CARE, INC.,

14                 Defendant.
15

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17          Upon review of the Parties’ Stipulation of Dismissal with Prejudice, and good
18
      cause appearing.
19

20          IT IS ORDERED that the Stipulation is GRANTED.
21          The above-entitled matter is hereby dismissed with prejudice, with court costs and
22
      attorneys’ fees to be paid by the party incurring same.
23

24          IT IS SO ORDERED.
25    Dated: May 31, 2022
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27                                           George H. Wu
28                                           U.S. DISTRICT JUDGE


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